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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    TRIPLE B CORPORATION, d/b/a                          CASE NO. C18-1674-JCC
      CHARLIE’s PRODUCE,
10
                                                           MINUTE ORDER
11                           Plaintiff,
                 v.
12
      MUNCHERY INC., et al.,
13
                             Defendants.
14

15
            The following Minute Order is made by direction of the Court, the Honorable John C.
16
     Coughenour, United States District Judge:
17
            The Court stayed this matter on March 25, 2019 and ordered the parties to notify the
18
     Court within 14 days after Defendant Munchery, Inc.’s bankruptcy proceedings were resolved.
19
     The Court now ORDERS the parties to file a joint status report within 14 days of the date of this
20
     order that informs the Court of: (1) the status of the bankruptcy proceedings against Defendant
21
     Munchery, Inc. and (2) whether the Court should lift the stay. If the parties are unable to agree,
22
     they may answer in separate paragraphs.
23
            //
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            //
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            //
26


     MINUTE ORDER
     C18-1674-JCC
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            Case 2:18-cv-01674-JCC Document 19 Filed 01/11/21 Page 2 of 2




 1        DATED this 11th day of January 2021.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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     MINUTE ORDER
     C18-1674-JCC
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